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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                                  CASE NO.

  ADIDAS AG, ADIDAS INTERNATIONAL MARKETING B.V.,
  ADIDAS AMERICA, INC., REEBOK INTERNATIONAL LIMITED,
  and REEBOK INTERNATIONAL LTD.,

                   Plaintiffs,
  vs.

  ADIDASCITYCUP.COM, ABBIGLIAMENTOADIDAS.COM,
  ADIDASALESUOMI.COM, ADIDASCANADASALE.COM,
  ADIDASCIPOOLCSON.COM, ADIDASCONTINENTAL.CO.UK,
  ADIDASDROSE8.COM, ADIDASFOOTWEARSALEUK.CO.UK,
  ADIDAS-FRANCE.TOP, ADIDASGALAXY.COM,
  ADIDASGAZELLESUOMI.COM, ADIDASGAZELLETILBUD.COM,
  ADIDASHAMBURG.COM, ADIDASHERE.COM,
  ADIDASHUNGARY.COM, ADIDASIADIDASROMANIA.COM,
  ADIDASINIKE2019.COM, ADIDASIREEBOKPUMP.COM,
  ADIDASIREEBOKROMANIA.COM, ADIDASIRELANDSALE.COM,
  ADIDAS-ITALIA.CLUB, ADIDASNEO.CA,
  ADIDASNETHERLANDS.COM, ADIDASNIKESHOESALE.COM,
  ADIDAS-NMD.COM.CO a/k/a ADIDASYEEZY-BOOST.ORG a/k/a
  ADIDASYEEZY-SHOES.ORG a/k/a HARDENVOL2.US a/k/a YEEZYS-
  BOOST.ORG a/k/a YEEZYSNEAKERS.COM.CO,
  ADIDASNMDGREECE.NET, ADIDASNMDR.COM,
  ADIDASNUEVOS.NET, ADIDASOFFWHITE.COM,
  ADIDASONLINEDISCOUNTUK.COM,
  ADIDASORIGINALSGREATSALE.CO.UK,
  ADIDASORIGINALSNZ.COM, ADIDASORIGINALSONLINE.COM,
  ADIDASORIGINALSOUTLETIT.COM, ADIDASOUTLETCH.COM,
  ADIDASOUTLETCHEAPONSALES.COM,
  ADIDASOUTLETNORGE.COM, ADIDASOUTLETONLINEITALIA.COM,
  ADIDASOUTLETONLINESTORESALE.COM,
  ADIDASOUTLETSCHUHE.COM, ADIDASOUTLETSCHWEIZ.COM,
  ADIDASPROPHERE.COM, ADIDASROMÂNIA.COM,
  ADIDASROMANIASHOP.COM, ADIDASRUNNING.CO.UK,
  ADIDASRUNNINGSHOES.CO.UK,
  ADIDASRUNNINGSHOESOUTLET.COM, ADIDASSALE.US, ADIDAS-
  SALE.US, ADIDASSALESK.COM, ADIDASSCHOENEN.CLUB, ADIDAS-
  SCHUHE.COM, ADIDASSHOESJAPANS.COM,
  ADIDASSHOESONLINEAU.COM, ADIDASSHOES-OUTLET.US,
  ADIDASSHOESOUTLETAUSTRALIA.COM a/k/a
  YEEZY350SALEIRELAND.COM, ADIDASSHOPINDIRIM.COM,
  ADIDASSINGAPORESG.COM, ADIDAS-SKO.COM,
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  ADIDASSNEAKERSUDSALG.COM, ADIDASSNEAKERSUK.CO.UK,
  ADIDASSPORTSWEAR.FR, ADIDAS-STANSMITH.COM,
  ADIDASSTANSMITHBOLD.COM,
  ADIDASSTANSMITHROMANIA.COM, ADIDASSTORESCHWEIZ.COM,
  ADIDASSUPERSTARJAPAN.COM, ADIDASSUPERSTARNORGE.COM,
  ADIDASSUPERSTARORIGINALS.COM,
  ADIDASSUPERSTARSALES.CO.UK,
  ADIDASSUPERSTARTILBUD.COM, ADIDASTERREXSOLO.COM,
  ADIDASTOBUY.COM, ADIDAS-TRAINERS.COM,
  ADIDASTUBULARPORTUGAL.COM, ADIDASULTRABOOST.CA,
  ADIDASULTRABOOSTSUOMI.COM,
  ADIDASULTRABOOSTTILBUD.COM, ADIDASWEB.ONLINE,
  ADIDASYEEZYS.UK, ADIDASYENISEZON.COM,
  ADIDASZLAVYSK.COM, ADIDASZXFLUXDAMA.COM,
  BILLIGEADIDAS.NET, BUTYADIDASPOLSKA.COM,
  BUYADIDASEQT.COM, CHEAPADIDASNMDCHINASTORE.COM a/k/a
  SHOESCHEAPSHOP.COM, CHEAPADIDASORIGINALS.CO.UK,
  CHEAPADIDASSUPERSTARS.COM,
  CHEAPADIDASWHOLESALE.COM, ENUCUZREEBOK.COM,
  EXZAPATOSADIDAS.COM, KERESADIDAS.NET, LOGOADIDAS.COM,
  MYYDAANREEBOK.COM, NEWCOLLECTIONADIDAS.COM,
  NEWESTADIDAS.COM, NIKEADIDASNMD.COM,
  NYEADIDASSKO.COM, PAPUCIADIDAS.COM,
  REEBOKASTRORIDE.COM, REEBOKAZTEC.COM,
  REEBOKCANADA.CA, REEBOKCIPOAKCIOK.COM,
  REEBOKCIPOWEBSHOP.COM, REEBOKCLASSICSAUSTRALIA.COM,
  REEBOKELEGANTI.COM, REEBOKEXOFIT.COM,
  REEBOKGREECEGR.COM, REEBOKLOJASPORTUGAL.COM,
  REEBOKOUTLET.US, REEBOKOUTLETONLINESALE.COM,
  REEBOKOUTLETSALE.US a/k/a REEBOKSTORE.US,
  REEBOKSALEAUSTRALIA.COM, REEBOKSTORE.ONLINE,
  REEBOKWEBARUHAZ.COM, REEBOKZOKURUNNER.COM,
  SALEREEBOKS.COM, SIZEADIDAS.COM, SNEAKERSREEBOKA.TOP,
  STAN-SMITH-ADIDAS.US, ZAPATILLAS-ADIDAS.COM,
  ZAPATOSSOCCERADIDAS.COM, ACEWRITINGSOLUTIONS.COM,
  AD2019.TOP, ADSPORTUK.COM, ADSSK.COM, AGENCY-
  QUARTZNET.COM, AIRMAXCHEAPSHOES.COM, AJERSEYS123.TOP,
  ALANVODK.COM, ARKISACONSTRUCCIONES.COM,
  ARTHURRIVEST.COM, ARTTHERAPYMOVIE.COM, ASPEN-
  TREEEXPERTS.COM, BASKETMONTESION.COM, BBCONTINUE.COM
  a/k/a COMFORTKICK3.COM a/k/a COMPRAR-RUN.COM a/k/a
  ENHANCEKEEP.COM a/k/a EPICREACTSHOE.COM a/k/a
  FASTONLINEBAY.COM a/k/a ITEMRELEASE.COM a/k/a
  MAXIMUMMORE.COM a/k/a NEGRASES.COM a/k/a
  NEWBSPORTS.COM a/k/a NMDSCHUHE.COM a/k/a PAIROFSNKS.COM
  a/k/a PWSNEAKER.COM a/k/a RUPTRUNNER.COM a/k/a


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  SHOESPRIEST.COM a/k/a SHOESTREK.COM, BECKERREHBEIN.COM,
  BELIEVEINATL.COM, BELLAROUGEBEAUTY.COM,
  BESTJERSEYSTORE.COM a/k/a
  BIZWHOLESALEJERSEYSCHINAONLINE.COM a/k/a
  CHEAPJERSEYX.COM a/k/a WHOLESALESTORE2019.COM,
  BESTSPORTJERSEY.COM, BIZCHEAPJERSEYS.COM a/k/a
  POSTCHEAPJERSEYS.COM, BLADDERTAPELAWYER.COM,
  BRADBERGUM.COM, BUILDINGPRODUCTJOBS.COM,
  BUYKYEEZY.COM, CANAMSPORTLOW.COM, CANN-
  FONLENO.COM, CARRICKWATERMUSIC.COM,
  CASTLEROCKVETCENTER.COM, CERVECERIAELPOTRO.COM,
  CHEAPCUSTOMSOCCERJERSEYS.COM a/k/a
  CHEAPJERSEYSCHINA.ORG, CHEAPNHLJERSEYSCANADA.COM,
  CHEAPNFLSHOP.CO, CHEAPYEEZYONLINE.COM,
  CHEAPYEEZYSHOES.CO.UK, CHICAGOINSPANISH.COM,
  CJANDNICOLE.COM, COUPONINGTOCRUISE.COM, COURS-
  FRANCAIS-PARIS.COM, CRUZCHECK.COM, DANTIESMITH-
  BROWN.COM, DAS-KUHLING.COM, DAVESREUPHOLSTERY.COM,
  DELEGATEWITTMAN.COM, DEVINACHOCOLATES.COM, DEVON-
  MUSIC.COM, DOCDONNINI.COM, EBAYSOCCER.NET,
  ELBERTPARKSANDREC.COM, ELECTRICMOWERGUIDE.COM,
  ELYAFINEART.COM, ENCHANTEDOM.COM, EVENT-NURSE.COM,
  EXTERNAL-SHUTTERS.COM, FAMILYAFFAIRDAYCARE.COM,
  FINNEGANSFOREST.COM, FOLK-IT.COM, FRESHERSSKIWEEK.COM,
  FUTBOL-TRAINING.COM, GLASEREI-PERTSCHY.COM,
  GOALJERSEYS.CO, GO-FACTORING.COM, GOMARTXCARDIN.COM,
  HEIMAUTOANDRECYCLING.COM, HINDUAGENCY.COM,
  HUDSONHOMELIST.COM, IEMILIANOZAPATA.COM,
  INJEANIUSJACKETS.COM, JERSEYWARCHEAP.COM,
  JONESBOROPAWNSHOP.COM, KIDZONEDIRECT.COM, KOKO-
  IMAGESAFARIS.COM, KUSADASINOVACAFE.COM, KYEEZY.COM,
  LABOUTIQUEDELABANICO.COM, LANASSCHOOLOFDANCE.COM,
  LATESTYEEZYBOOST.COM, LEGIARRE.COM,
  LEONARDOANDSONS.COM, LISTERWATSON.COM,
  LORNALEEMUSIC.COM, LOSANGELESBR.COM, LTCOMPLETE.COM,
  LUMINARY-CANDLES.COM, MAIMADHARA.COM,
  MARINAKLEMENTE.COM, MASONRYWICHITA.COM,
  MELTEMTEKNESI.COM, MENDEZCOLES.COM, MESUTSUB.COM,
  METALICASMETALVAL.COM, MIACARE-COMFORT.COM,
  MILLSFAMILYATLANTA.COM, MJSELLSPROPERTY.COM,
  MORANWYOMING.COM, MSKADAIWALA.COM, NEEDVACAY.COM,
  NEWGLASSDOORS.COM a/k/a NHLJERSEYCHINAS.COM,
  NHLJERSEYSCHINA.COM, NICOKICKS.NET, NIGHTBRUSHERS.COM,
  NIKKIFORRRISD.COM, NITRO-HIGHSCHOOL.COM,
  NJDIAMONDEXCHANGE.COM, NTECIV.COM,
  OCHUCHEUMUODUTOWN.COM, ONGLEMENT-VOTRE.COM,


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  ONYADISTICARET.COM, OSTLERSOFWORCESTER.CO.UK a/k/a
  ROYALMAGICK.COM, PAMFOWLERGRACE.COM,
  PARSADUANA.COM, PASTRYNINJAPHOTOGRAPHY.COM,
  PAULLAMBEFITNESS.COM, PERGIWAMAHAYATI.COM,
  PHOTOSHOPLINK.COM, PIZZERIAQUAEFARINA.COM,
  PUBSHOES.COM, QUANTICO-REALESTATE.COM,
  RAFTERORANCH.NET, RIKKEROHR.COM,
  RUTHLINWELLNESS.COM, SALLYROSEVEARE.COM,
  SAMWHITEPAGES.COM, SAVVYBASE1.COM,
  SCARYCOSTUMESONLINE.COM, SCAVBOT.COM,
  SCHUYLERIONAPRESS.COM, SEAMOSRAROSJUNTOS.COM,
  SHOPCLEATS.NET, SNEAKERSBOOST.COM, SOCCERKITFR.COM,
  SOFTWARETUTOR.CO.UK, SOUNDPOINTRESORT.COM, SSR-
  PROPERTIES.COM, STEVENMCKNIGHTGUITAR.COM,
  SUJIKESHI.COM, SUMACASE.COM, TARTOFRUITS.COM,
  TAYFUNKARA.COM, TEAKWOODMINISTRIES.COM,
  THEINSULATIONSITE.COM, TOMBOWKERPHOTOGRAPHY.COM,
  TOPROOFINGSITE.COM, UNAVENIRPOURLAGRECE.COM,
  VASILMOSKOV.COM, VATAN-ELEKTRONIK.COM,
  VISUALKEIRADIO.COM,
  WHOLESALEAUTHENTICJERSEYSFORCHEAP.COM,
  WILGALVEZPHOTOGRAPHY.COM, YEEZY350WHOLESALE.COM,
  YEEZYBOOST700.US, YEEZYBOOSTSTOCK.COM,
  YEEZYBOOSTUS.US, YEEZYCLAY.US, YEEZY-FACTORY.COM,
  YEEZYFACTORY.STORE, YEEZYGO.STORE a/k/a YEEZYSUN.CLUB
  a/k/a YEEZYSUN.STORE, YEEZYHYPERSPACE.US, YEEZY-
  OFFICIAL.COM, YEEZYOP.CLUB, YEEZYSHOES.CA,
  YEEZYSHOESUS.COM, YEEZYSITOUFFICIALE.COM, YEEZY-
  SUPREME.COM, YEEZYSUS.US, and ZANEARTZ.COM, each an
  Individual, Partnership, or Unincorporated Association,

                    Defendants.
  ______________________________________________________________/

                 COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

         Plaintiffs, adidas AG, adidas International Marketing B.V., adidas America, Inc., Reebok

  International Limited, and Reebok International Ltd., (collectively “Plaintiffs”) hereby sue

  Defendants the individuals, partnerships, and unincorporated associations identified in the

  caption, which are set forth on Schedule “A” hereto (collectively “Defendants”). Defendants are

  promoting, selling, offering for sale and distributing goods bearing counterfeits and confusingly



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  similar imitations of Plaintiffs’ respective trademarks within this district through at least the fully

  interactive commercial Internet websites operating under the domain names identified on

  Schedule “A” hereto (the “Subject Domain Names”). In support of their claims, Plaintiffs allege

  as follows:

                                   JURISDICTION AND VENUE

         1.      This is an action for federal trademark counterfeiting and infringement, false

  designation of origin, cybersquatting, common law unfair competition, and common law

  trademark infringement, pursuant to 15 U.S.C. §§ 1114, 1116, 1125(a), and 1125(d) and The All

  Writs Act, 28 U.S.C. § 1651(a). Accordingly, this Court has subject matter jurisdiction over this

  action pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338. This Court has

  supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over Plaintiffs’ state law claims because

  those claims are so related to the federal claims that they form part of the same case or

  controversy.

         2.      Defendants are subject to personal jurisdiction in this district because they operate

  commercial websites accessible in this district, conduct business by registering and maintaining

  commercial Subject Domain Names registered within the United States and/or and direct

  business activities towards consumers throughout the United States, including within the State of

  Florida and this district through at least the fully interactive 1 commercial Internet websites

  operating under the Subject Domain Names.


  1
    Several Defendants use their Subject Domain Names to act as supporting domain names to
  direct traffic to their fully-interactive, commercial websites operating under other Subject
  Domain Names, from which consumers can complete purchases. Some of the supporting
  domain names, when accessed directly, appear to be blog style or non-operating websites;
  however, when visited from a search engine such as Google, visitors are redirected to the fully-
  interactive websites operating under other Subject Domain Names. Other supporting domain
  names either automatically redirect and forward to a fully-interactive, commercial Internet
  website operating under one of the Subject Domain Names or redirect a consumer to a fully-

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          3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 since Defendants are,

  upon information and belief, engaged in infringing activities and causing harm within this district

  by advertising, offering to sell, and/or selling infringing products into this district.

                                           THE PLAINTIFFS

          4.      Plaintiff adidas AG (“adidas AG”) is a joint stock company organized and

  existing under the laws of the Federal Republic of Germany, having its office and principal place

  of business at Postach 1120, D-91072 Herzogenaurach, Federal Republic of Germany. adidas

  AG is currently, and for years has been, one of the world’s leading manufacturers of athletic

  footwear and apparel, including products bearing the distinctive adidas Mark, Trefoil Mark, and

  3 Bars Logo.

          5.      Plaintiff adidas International Marketing B.V. (“adidas International”) is a

  corporation organized and existing under the laws of Netherlands, having its principal place of

  business in the Netherlands. adidas International is wholly owned by adidas AG and its

  affiliates.

          6.      Plaintiff adidas America, Inc. (“adidas America”) is a corporation organized and

  existing under the laws of the State of Oregon, having its principal place of business at 5055 N.

  Greeley Avenue, Portland, Oregon, 97217. adidas America is wholly owned by adidas AG and

  its affiliates, and within this country adidas America is a licensed distributor of adidas-branded

  merchandise, including goods bearing the distinctive adidas Mark, Trefoil Mark, and 3 Bars

  Logo. adidas AG, adidas International, and adidas America shall be referred to herein

  collectively as “adidas.”



  interactive, commercial Internet website operating under one of the Subject Domain Names upon
  clicking a product or link on the website. All of the redirecting websites are identified as such in
  Composite Exhibit “3” hereto.

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         7.      Plaintiff Reebok International Limited (“Reebok International”) is a corporation

  organized and existing under the laws of England, having its principal place of business at 11/12

  Pall Mall, London SWI Y 5LU, England. Reebok International is wholly owned by adidas AG

  and its affiliates. Reebok International currently is, and for many years has been, one of the

  world's leading manufacturers of footwear and sportswear, including products bearing the

  Reebok Mark, RBK Mark, Vector Mark, Starcrest Mark, and Stacked Reebok Delta Mark.

         8.      Plaintiff Reebok International Ltd. (“Reebok Ltd.”) is a corporation organized and

  existing under the laws of the Commonwealth of Massachusetts, having its principal place of

  business at 25 Dry Dock Ave., Boston, Massachusetts, 02210. Reebok Ltd. is wholly-owned by

  adidas AG and its affiliates. Reebok International and Reebok Ltd., and any predecessors or

  related entities, shall be collectively referred to herein as “Reebok.”

         9.      Plaintiffs’ trademarked goods are sold through various channels of trade within

  the State of Florida, including this district. Defendants, through the advertising, sale, and

  offering for sale counterfeit and infringing versions of Plaintiffs’ branded products, are directly,

  and unfairly, competing with Plaintiffs’ economic interests in the State of Florida and causing

  Plaintiffs harm within this jurisdiction.

         10.     Like many other famous trademark owners, Plaintiffs suffer ongoing daily and

  sustained violations of their respective trademark rights at the hands of counterfeiters and

  infringers, such as Defendants herein, who wrongfully reproduce and counterfeit Plaintiffs’

  trademarks for the twin purposes of (i) duping and confusing the consuming public and (ii)

  earning substantial profits.

         11.     In order to combat the indivisible harm caused by the combined actions of

  Defendants and others engaging in similar conduct, each year Plaintiffs expend significant



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  monetary resources in connection with trademark enforcement efforts, including legal fees,

  investigative fees, and support mechanisms for law enforcement, such as field training, guides

  and seminars. The exponential growth of counterfeiting over the Internet has created an

  environment that require Plaintiffs to file a number of lawsuits, often it later turns out, against the

  same individuals and groups, in order to protect both consumers and themselves from the ill

  effects of confusion and the erosion of the goodwill connected to Plaintiffs’ respective brands.

                                         THE DEFENDANTS

         12.     Defendants operate through domain names registered with registrars in multiple

  countries, including the United States, and are comprised of individuals, partnerships, and/or

  business entities of unknown makeup, whom, upon information and belief, likely reside and/or

  operate in foreign jurisdictions or redistribute products from the same or similar sources in those

  locations. Defendants have the capacity to be sued pursuant to Federal Rule of Civil Procedure

  17(b). Defendants direct their business activities towards consumers throughout the world,

  including the United States and within this district through the simultaneous operation of at least

  the fully interactive Internet commercial websites existing under the Subject Domain Names.

         13.     Upon information and belief, Defendants use aliases in conjunction with the

  operation of their businesses, including but not limited to those identified by the same Defendant

  Number on Schedule “A” hereto.

         14.     Upon information and belief, Defendants are directly and personally contributing

  to, inducing and engaging in the sale of counterfeit branded products as alleged herein, often times

  as partners, co-conspirators and/or suppliers.

         15.     Defendants are part of an ongoing scheme to create and maintain an illegal

  marketplace enterprise on the World Wide Web, which (i) confuses consumers regarding the



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  source of Defendants’ goods for profit, and (ii) expands the marketplace for illegal, counterfeit

  versions of Plaintiffs’ branded goods while shrinking the legitimate marketplace for Plaintiffs’

  genuine branded goods. The natural and intended byproduct of Defendants’ actions is the

  erosion and destruction of the goodwill associated with Plaintiffs’ respective famous names and

  trademarks, as well as the destruction of the legitimate market sector in which they operate.

         16.     Defendants are the past and present controlling forces behind the operation of

  commercial Internet websites operating under at least the Subject Domain Names.

         17.     Upon information and belief, Defendants directly engage in unfair competition

  with Plaintiffs by (i) advertising, offering for sale and/or selling goods bearing counterfeits and

  infringements of one or more of Plaintiffs’ individual trademarks to consumers within the United

  States and this district through at least the commercial websites operating under the Subject

  Domain Names and additional domains and websites not yet known to Plaintiffs and (ii) creating

  and maintaining an illegal marketplace enterprise for the purpose of diverting business from

  Plaintiffs’ legitimate marketplace for their genuine goods. Defendants have purposefully

  directed some portion of their illegal activities towards consumers in the State of Florida through

  the advertisement, offer to sell, and/or sale of counterfeit branded goods into the State, and by

  operating an illegal marketplace enterprise which impacts and interferes with commerce

  throughout the United States, including within the State of Florida.

         18.     Upon information and belief, Defendants have registered, established or

  purchased, and maintained their respective Subject Domain Names, and the websites operating

  thereunder. Upon information and belief, many Defendants have engaged in fraudulent conduct

  with respect to the registration of the Subject Domain Names by providing false and/or

  misleading information to their various registrars during the registration or maintenance process.



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  Upon information and belief, Defendants have registered and/or maintained the Subject Domain

  Names for the sole purpose of engaging in illegal counterfeiting activities.

         19.     Upon information and belief, Defendants will continue to register or acquire new

  domain names for the purpose of selling and/or offering for sale goods bearing counterfeit and

  confusingly similar imitations of one or more of Plaintiffs’ trademarks unless preliminarily and

  permanently enjoined. Moreover, upon information and belief, Defendants will continue to

  maintain and grow their illegal marketplace enterprise at Plaintiffs’ expense unless preliminarily

  and permanently enjoined.

         20.     Defendants’ Internet-based website businesses amount to nothing more than

  illegal operations established and operated in order to infringe the intellectual property rights of

  Plaintiffs and others.

         21.     Defendants’ business names, i.e., the Subject Domain Names and any other

  domain names used in connection with the sale of counterfeit and infringing goods bearing one

  or more of Plaintiffs’ trademarks are essential components of Defendants’ counterfeiting and

  infringing activities and are one of the means by which Defendants further their counterfeiting

  and infringement scheme and cause harm to Plaintiffs. Moreover, Defendants are using

  Plaintiffs’ respective famous names and/or trademarks to drive Internet consumer traffic to their

  websites operating under the Subject Domain Names, thereby creating and increasing the value

  of the Subject Domain Names and decreasing the size and value of Plaintiffs’ legitimate

  marketplace at Plaintiffs’ expense.




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                               COMMON FACTUAL ALLEGATIONS

         adidas’s Trademark Rights

         22.     adidas is currently, and for years has been, one of the world’s leading

  manufacturers of athletic footwear, apparel, and sporting equipment. adidas has used its famous

  and distinctive trademarks            ,    , and     (collectively, the “adidas Marks”), for more

  than seventy years, forty years, and twenty nine years, respectively, in connection with the

  above-mentioned goods. The adidas Marks signify the quality and reputation of adidas products.

         23.     adidas is the owner of multiple trademark registrations for the adidas Marks,

  including the valid trademark registrations identified on Schedule “B” hereto, issued by the

  United States Patent and Trademark Office. The adidas Marks are used in conjunction with the

  manufacture and distribution of quality goods in the categories also identified on Schedule “B.”

  True and correct copies of the Certificates of Registration for the adidas Marks are attached

  hereto as Composite Exhibit “1.”

         24.     The adidas Marks have been used in interstate commerce to identify and

  distinguish adidas products for an extended period of time and serve as symbols of adidas’s

  quality, reputation, and goodwill.

         25.     The adidas Marks are well-known and famous and have been for many years.

  adidas has expended substantial time, money and other resources developing, advertising and

  otherwise promoting the adidas Marks. Specifically, adidas has used the adidas Marks in

  connection with its frequent sponsorship of sports tournaments and organizations, as well as

  professional athletes and collegiate sports teams. For example, adidas has long-term

  relationships with the University of Nebraska, and the University of Louisville. Among many

  others, NBA stars Derrick Rose, James Harden, and Andrew Wiggins, NFL stars Von Miller,



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  Aaron Rodgers, Dak Prescott, NHL star Sidney Crosby, baseball player Kris Bryant, and soccer

  stars David Beckman and Lionel Messi all are sponsored by adidas. For many years, adidas has

  been a sponsor of the World Cup soccer tournament, has sponsored the world-famous Boston

  Marathon for more than a decade, and has sponsored many other events, teams, and individuals.

  Prominent use of the adidas Marks in connection with these sponsorship activities has further

  enhanced the adidas Marks’ recognition and fame. The adidas Marks qualify as famous marks as

  that term is used in 15 U.S.C. §1125(c)(1).

         26.     adidas has extensively used, advertised, and promoted the adidas Marks in the

  United States in association with the sale of quality products. adidas has spent hundreds of

  millions of dollars promoting the adidas Marks and products bearing the adidas Marks. In recent

  years, annual sales of products bearing the adidas Marks have totaled in the billions of dollars

  globally and in the hundreds of millions of dollars within the United States.

         27.     The adidas Marks have achieved secondary meaning as identifiers of quality

  goods as a result of adidas’s advertisement, promotion, and sale of such goods thereunder.

         28.     As a result of adidas’s efforts, members of the consuming public readily identify

  merchandise bearing or sold under the adidas Marks, as being quality merchandise sponsored

  and approved by adidas.

         29.     adidas has carefully monitored and policed the use of the adidas Marks and has

  never assigned or licensed the adidas Marks to any Defendant in this matter.

         30.     Genuine goods bearing the adidas Marks are widely legitimately advertised and

  promoted by adidas, authorized distributors and unrelated third parties via the Internet. Over the

  course of the past several years, visibility on the Internet, particularly via Internet search engines

  such as Google, Yahoo!, and Bing has become increasingly important to adidas’s overall



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  marketing and consumer education efforts. Thus, adidas expends significant monetary resources

  on Internet marketing and consumer education, including search engine optimization (“SEO”)

  strategies. Those strategies allow adidas and its authorized retailers to fairly and legitimately

  educate consumers about the value associated with the adidas Marks and the goods sold

  thereunder.

         Rebook’s Trademark Rights

         31.     Reebok is currently, and for years has been, one of the world’s leading

  manufacturers of athletic footwear, apparel, and sporting equipment. Reebok has used its

  trademarks, REEBOK,        ,    , and     (collectively, the “Reebok Marks”) for many years, in

  connection with the above-mentioned goods. The Reebok Marks signify the quality and

  reputation of Reebok products.

         32.     Reebok is the owner of multiple trademark registrations for the Reebok Marks,

  including the valid and incontestable trademark registrations identified on Schedule “C” hereto,

  issued by the United States Patent and Trademark Office. The Reebok Marks are used in

  conjunction with the manufacture and distribution of quality goods in the categories also

  identified in Schedule “C.” True and correct copies of the Certificates of Registration for the

  Reebok Marks are attached hereto as Composite Exhibit “2.”

         33.     The Reebok Marks have been used in interstate commerce to identify and

  distinguish Reebok products for an extended period of time and serve as symbols of Reebok’s

  quality, reputation, and goodwill.

         34.     The Reebok Marks are well-known and famous and have been for many

  years. Reebok has expended substantial time, money and other resources developing,

  advertising and otherwise promoting the Reebok Marks. Specifically, Reebok has used the



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  Reebok Marks in connection with its frequent sponsorship of sports tournaments and

  organizations, and professional athletes. For example, Reebok sponsors numerous professional

  athletes, including NFL defensive end and reigning defensive player of the year J.J. Watt, NFL

  players Brandin Cooks and Devonta Freeman, four-time CrossFit Games Champion Rich

  Froning, Jr., as well as CrossFit Games Champions Tia Clair-Toomey, Ben Smith, and Katrin

  Tanja Davidsdottir. Reebok has been the title sponsor of the annual Reebok CrossFit Games,

  which annually crowns the men and women as “The Fittest on Earth,” since 2011, and is the

  exclusive apparel and footwear provider for CrossFit, one of the fastest growing sports in

  America. Reebok is also the exclusive apparel and footwear sponsor of the Ultimate Fighting

  Championship (“UFC”), which is the largest mixed martial arts promotion company in the

  world. Additionally, Reebok is the title sponsor of the Ragnar Relay series of endurance races

  and official partner of Les Mills, the world’s largest provider of choreographed group fitness

  classes at health clubs. Reebok also sponsors several entertainers, including Ariana Grande,

  Future, and Rae Sremmurd. The Reebok Marks qualify as famous marks as that term is used in

  15 U.S.C. §1125(c)(1).

         35.     Reebok has extensively used, advertised and promoted the Reebok Marks in the

  United States in association with the sale of quality products. Reebok has spent millions of

  dollars promoting the Reebok Marks and products bearing the Reebok Marks. In recent years,

  Reebok has sold hundreds of millions of dollars of products bearing the Reebok Marks.

         36.     The Reebok Marks have achieved secondary meaning as identifiers of quality

  goods as a result of Reebok’s advertisement, promotion and sale of such goods thereunder.




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         37.     As a result of Reebok’s efforts, members of the consuming public readily identify

  merchandise bearing or sold under the Reebok Marks, as being quality merchandise sponsored

  and approved by Reebok.

         38.     Reebok has carefully monitored and policed the use of the Reebok Marks and has

  never assigned or licensed the Reebok Marks to any Defendant in this matter.

         39.     Genuine goods bearing the Reebok Marks are widely legitimately advertised and

  promoted by Reebok, authorized distributors and unrelated third parties via the Internet. Over

  the course of the past several years, visibility on the Internet, particularly via Internet search

  engines such as Google, Yahoo!, and Bing has become increasingly important to Reebok’s

  overall marketing and consumer education efforts. Thus, Reebok expends significant monetary

  resources on Internet marketing and consumer education, including SEO strategies. Those

  strategies allow Reebok and its authorized retailers to fairly and legitimately educate consumers

  about the value associated with the Reebok Marks and the goods sold thereunder.

         Defendants’ Infringing Activities

         40.     In blatant disregard of Plaintiffs’ rights, Defendants are promoting and

  advertising, distributing, selling, and/or offering for sale goods in interstate commerce that bear

  counterfeit and confusingly similar imitations of the adidas Marks and/or the Reebok Marks

  (collectively, the “Counterfeit Goods”) through at least the fully interactive commercial Internet

  websites operating under the Subject Domain Names. True and correct copies of the web pages

  reflecting samples of the Internet websites operating under the Subject Domain Names

  displaying Plaintiffs’ branded items offered for sale are attached hereto as Composite Exhibit

  “3.” Specifically, upon information and belief, Defendants are using identical copies of the

  adidas Marks and/or the Reebok Marks (collectively, “Plaintiffs’ Marks”) for different quality



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  goods. Plaintiffs have used their respective Marks extensively and continuously before

  Defendants began offering counterfeit and confusingly similar imitations of Plaintiffs’

  merchandise.

         41.     Upon information and belief, Defendants’ Counterfeit Goods are of a quality

  substantially different than that of Plaintiffs’ respective genuine goods. Defendants, upon

  information and belief, are actively using, promoting and otherwise advertising, distributing,

  selling and/or offering for sale substantial quantities of their Counterfeit Goods with the

  knowledge and intent that such goods will be mistaken for the genuine quality goods offered for

  sale by Plaintiffs despite Defendants’ knowledge that they are without authority to use Plaintiffs’

  Marks. The net effect of Defendants’ actions will cause confusion of consumers at the time of

  initial interest, sale, and in the post-sale setting, who will believe Defendants’ Counterfeit Goods

  are genuine goods originating from, associated with, and approved by Plaintiffs.

         42.     Defendants advertise their Counterfeit Goods for sale to the consuming public via

  Internet websites operating under at least the Subject Domain Names. In so advertising these

  goods, Defendants improperly and unlawfully use one or more of Plaintiffs’ Marks without

  Plaintiffs’ permission. Indeed, Defendants herein misappropriated Plaintiffs’ advertising ideas

  and methods of doing business with regard to the advertisement and sale of Plaintiffs’ respective,

  genuine goods. Upon information and belief, the misappropriation of Plaintiffs’ advertising

  ideas in the form of Plaintiffs’ Marks is, in part, the proximate cause of harm to Plaintiffs.

         43.     As part of their overall infringement and counterfeiting scheme, most Defendants

  are, upon information and belief, concurrently employing and benefiting from substantially

  similar, and often times coordinated, paid advertising and SEO strategies based, in large

  measure, upon an illegal use of counterfeits and infringements of one or more of Plaintiffs’



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  Marks. Specifically, Defendants are, upon information and belief, using counterfeits and

  infringements of one or more of Plaintiffs’ famous names or Plaintiffs’ Marks in order to make

  their websites selling illegal goods appear more relevant and attractive to consumers searching

  for Plaintiffs’ related goods and information online. By their actions, Defendants are

  contributing to the creation and maintenance of an illegal marketplace operating in parallel to the

  legitimate marketplace for Plaintiffs’ respective, genuine goods. Defendants are causing

  individual, concurrent and indivisible harm to Plaintiffs and the consuming public by (i)

  depriving Plaintiffs of their right to fairly compete for space online and within search engine

  results and reducing the visibility of Plaintiffs’ respective, genuine goods on the World Wide

  Web, (ii) causing an overall degradation of the value of the goodwill associated with Plaintiffs’

  Marks, (iii) increasing Plaintiffs’ overall cost to market their goods and educate consumers about

  their brands via the Internet, and/or (iv) maintaining an illegal marketplace enterprise which

  perpetuates the ability of Defendants and future entrants to that marketplace to confuse

  consumers and harm Plaintiffs with impunity.

         44.     Upon information and belief, Defendants are concurrently conducting and

  directing their counterfeiting and infringing activities toward consumers and causing harm within

  this district and elsewhere throughout the United States. As a result, Defendants are defrauding

  Plaintiffs and the consuming public for Defendants’ own benefit.

         45.     Upon information and belief, at all times relevant hereto, Defendants in this action

  had full knowledge of Plaintiffs’ respective ownership of Plaintiffs’ Marks, including their

  respective, exclusive rights to use and license such intellectual property and the goodwill

  associated therewith.




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         46.     Defendants’ use of Plaintiffs’ respective Marks, including the promotion and

  advertisement, reproduction, distribution, sale and offering for sale of their Counterfeit Goods, is

  without Plaintiffs’ consent or authorization.

         47.     Defendants are engaging in the above-described illegal counterfeiting and

  infringing activities knowingly and intentionally or with reckless disregard or willful blindness to

  Plaintiffs’ rights for the purpose of trading on Plaintiffs’ respective goodwill and reputations. If

  Defendants’ intentional counterfeiting and infringing activities are not preliminarily and

  permanently enjoined by this Court, Plaintiffs and the consuming public will continue to be

  harmed.

         48.     Defendants’ above identified infringing activities are likely to cause confusion,

  deception, and mistake in the minds of consumers before, during, and after the time of purchase.

  Moreover, Defendants’ wrongful conduct is likely to create a false impression and deceive

  customers, the public, and the trade into believing there is a connection or association between

  Plaintiffs’ respective genuine goods and Defendants’ Counterfeit Goods, which there is not.

         49.     Further, upon information and belief, Defendants 1-123 have registered their

  respective Subject Domain Names, using marks that are nearly identical and/or confusingly

  similar to at least one of Plaintiffs’ Marks, (collectively the “Cybersquatted Subject Domain

  Names”).

         50.     Upon information and belief, Defendants 1-123 have registered and/or used the

  Cybersquatted Subject Domain Names with the bad faith intent to profit from Plaintiffs’

  respective Marks.




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          51.    Defendants do not have, nor have they ever had, the right or authority to use

  Plaintiffs’ Marks. Further, Plaintiffs’ Marks have never been assigned or licensed to be used on

  any of the websites operating under the Cybersquatted Subject Domain Names.

          52.    Upon information and belief, Defendants 1-123 have provided false and/or

  misleading contact information when applying for the registration of the Cybersquatted Subject

  Domain Names, or have intentionally failed to maintain accurate contact information with

  respect to the registration of the Cybersquatted Subject Domain Names.

          53.    Upon information and belief, Defendants 1-123 have never used any of the

  Cybersquatted Subject Domain Names in connection with a bona fide offering of goods or

  services.

          54.    Upon information and belief, Defendants 1-123 have not made any bona fide non-

  commercial or fair use of Plaintiffs’ Marks on a website accessible under the any of

  Cybersquatted Subject Domain Names.

          55.    Upon information and belief, Defendants 1-123 have intentionally incorporated

  Plaintiffs’ respective Marks in their Cybersquatted Subject Domain Names to divert consumers

  looking for Plaintiffs’ respective Internet websites to their own Internet websites for commercial

  gain.

          56.    Given the visibility of Defendants’ various websites and the similarity of their

  actions, it is clear Defendants are either related or, at a minimum, cannot help but know of each

  other’s existence and the damage likely to be caused to Plaintiffs and the overall consumer

  market in which it operates as a result of Defendants’ concurrent actions.




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         57.     Although some Defendants may be acting independently, they may properly be

  deemed to be acting in concert because the combined force of their actions serves to multiply the

  harm caused to Plaintiffs.

         58.     Plaintiffs have no adequate remedy at law.

         59.     Plaintiffs are suffering irreparable injury and damages as a result of Defendants’

  unauthorized and wrongful use of Plaintiffs’ Marks. If Defendants’ counterfeiting, infringing,

  cybersquatting, and unfairly competitive activities, and their illegal marketplace enterprise are

  not preliminarily and permanently enjoined by this Court, Plaintiffs and the consuming public

  will continue to be harmed.

         60.     The injury and damages sustained by Plaintiffs have been directly and

  proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offers

  to sell, and sale of their Counterfeit Goods and by the creation, maintenance and very existence

  of Defendants’ illegal marketplace enterprise.

           COUNT I - TRADEMARK COUNTERFEITING AND INFRINGEMENT
             PURSUANT TO § 32 OF THE LANHAM ACT (15 U.S.C. § 1114)

         61.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 60 above.

         62.     This is an action for trademark counterfeiting and infringement against

  Defendants based on their use of counterfeit and confusingly similar imitations of Plaintiffs’

  Marks in commerce in connection with the promotion, advertisement, distribution, sale and/or

  offering for sale of the Counterfeit Goods.

         63.     Specifically, Defendants are promoting and otherwise advertising, selling,

  offering for sale, and/or distributing goods using counterfeits and infringements of one or more

  of Plaintiffs’ Marks. Defendants are continuously infringing and inducing others to infringe


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  Plaintiffs’ Marks by using one or more of them to advertise, promote, sell, and/or offer to sell

  counterfeit and infringing branded goods.

         64.     Defendants’ concurrent counterfeiting and infringing activities are likely to cause

  and actually are causing confusion, mistake and deception among members of the trade and the

  general consuming public as to the origin and quality of Defendants’ Counterfeit Goods.

         65.     Defendants’ unlawful actions have caused and are continuing to cause

  unquantifiable damage and irreparable harm to Plaintiffs and are unjustly enriching Defendants

  at Plaintiffs’ expense.

         66.     Defendants’ above-described illegal actions constitute counterfeiting and

  infringement of Plaintiffs’ Marks in violation of Plaintiffs’ respective rights under § 32 of the

  Lanham Act, 15 U.S.C. § 1114.

         67.     Plaintiffs have each suffered and will continue to suffer irreparable injury due to

  Defendants’ above described activities if Defendants are not preliminarily and permanently

  enjoined.

                     COUNT II - FALSE DESIGNATION OF ORIGIN
              PURSUANT TO § 43(a) OF THE LANHAM ACT (15 U.S.C. § 1125(a))

         68.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 60 above.

         69.     Defendants’ Counterfeit Goods bearing and sold under copies of one or more of

  Plaintiffs’ Marks have been widely advertised and offered for sale throughout the United States.

         70.     Defendants’ Counterfeit Goods bearing and sold under copies of one or more of

  Plaintiffs’ Marks are virtually identical in appearance to each of Plaintiffs’ respective, genuine

  goods. However, Defendants’ Counterfeit Goods are different in quality. Accordingly,




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  Defendants’ activities are likely to cause confusion in the trade and among the general public as

  to at least the origin or sponsorship of their Counterfeit Goods.

         71.     Defendants, upon information and belief, have used in connection with their

  advertisement, offer for sale, and/or sale of the Counterfeit Goods, false designations of origin

  and false descriptions and representations, including words or other symbols and trade dress

  which tend to falsely describe or represent such goods and have caused such goods to enter into

  commerce with full knowledge of the falsity of such designations of origin and such descriptions

  and representations, all to Plaintiffs’ detriment.

         72.     Defendants have authorized infringing uses of one or more of Plaintiffs’ Marks in

  Defendants’ advertisement and promotion of their counterfeit and infringing branded goods.

  Many Defendants have also misrepresented to members of the consuming public that the

  Counterfeit Goods being advertised and sold by them are genuine, non-infringing goods.

         73.     Additionally, many Defendants are using counterfeits and infringements of one or

  more of Plaintiffs’ Marks in order to unfairly compete with Plaintiffs and others for space within

  search engine organic results, thereby jointly depriving Plaintiffs of a valuable marketing and

  educational tool which would otherwise be available to Plaintiffs and reducing the visibility of

  Plaintiffs’ genuine goods on the World Wide Web.

         74.     Defendants’ above-described actions are in violation of Section 43(a) of the

  Lanham Act, 15 U.S.C. §1125(a).

         75.     Plaintiffs have no adequate remedy at law, and have each sustained indivisible

  injury and damage caused by Defendants’ concurrent conduct. Absent an entry of an injunction

  by this Court, each Plaintiff will continue to suffer irreparable injury to their respective goodwill

  and business reputations as well as monetary damages.



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                COUNT III - CLAIM FOR RELIEF FOR CYBERSQUATTING
                 UNDER §43(d) OF THE LANHAM ACT (15 U.S.C. §1125(d))
                              (Against Defendants 1-123 only)

         76.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 60 above.

         77.     Upon information and belief, Defendants 1-123 have acted with the bad faith

  intent to profit from Plaintiffs’ Marks and the goodwill associated with Plaintiffs’ Marks by

  registering and using the Cybersquatted Subject Domain Names.

         78.     Plaintiffs’ Marks were distinctive and famous at the time Defendants 1-123

  registered the Cybersquatted Subject Domain Names.

         79.     The Cybersquatted Subject Domain Names are identical to, confusingly similar to

  or dilutive of one or more of Plaintiffs’ Marks.

         80.     Defendants 1-123’s conduct is done with knowledge and constitutes a willful

  violation of Plaintiffs’ rights in Plaintiffs’ Marks. At a minimum, Defendants’ conduct

  constitutes reckless disregard for and willful blindness to Plaintiffs’ Marks’ rights.

         81.     Defendants 1-123’s actions constitute cybersquatting in violation of §43(d) of the

  Lanham Act, 15 U.S.C. §1125(d).

         82.     Plaintiffs have no adequate remedy at law and have each suffered and will

  continue to suffer irreparable injury and damage due to the above described activities of

  Defendants 1-123 if they are not enjoined.

                    COUNT IV - COMMON LAW UNFAIR COMPETITION

         83.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 60 above.




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         84.     This is an action against Defendants based on their (i) promotion, advertisement,

  distribution, sale and/or offering for sale of goods bearing marks which are virtually identical,

  both visually and phonetically, to Plaintiffs’ Marks, and (ii) creation and maintenance of an

  illegal, ongoing marketplace enterprise operating in parallel to the legitimate marketplace in

  which Plaintiffs sell their genuine goods, in violation of Florida’s common law of unfair

  competition.

         85.     Specifically, Defendants are promoting and otherwise advertising, selling, offering

  for sale and/or distributing goods bearing counterfeits and infringements of one or more of

  Plaintiffs’ Marks. Defendants are also using counterfeits and infringements of one or more of

  Plaintiffs’ Marks to unfairly compete with Plaintiffs for (i) space in search engine results across

  an array of search terms and/or (ii) visibility on the World Wide Web.

         86.     Defendants’ infringing activities are likely to cause and actually are causing

  confusion, mistake and deception among members of the trade and the general consuming public

  as to the origin and quality of Defendants’ products by their use of Plaintiffs’ Marks.

         87.     Plaintiffs have no adequate remedy at law and are suffering irreparable injury and

  damages as a result of Defendants' actions.

                 COUNT V - COMMON LAW TRADEMARK INFRINGEMENT

         88.     Plaintiffs hereby adopt and re-allege the allegations set forth in Paragraphs 1

  through 60 above.

         89.     This is an action for common law trademark infringement against Defendants

  based on their promotion, advertisement, offering for sale, and/or sale of their Counterfeit Goods

  bearing one or more of Plaintiffs’ Marks. Plaintiffs are the owners of all common law rights in

  and to Plaintiffs’ Marks.



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         90.     Specifically, Defendants, upon information and belief, promoting and otherwise

  advertising, distributing, offering for sale, and/or selling goods bearing infringements of one or

  more of Plaintiffs’ Marks.

         91.     Defendants infringing activities are likely to cause and actually are causing

  confusion, mistake and deception among members of the trade and the general consuming public

  as to the origin and quality of Defendants’ Counterfeit Goods bearing Plaintiffs’ Marks.

         92.     Plaintiffs have no adequate remedy at law and are suffering damages and

  irreparable injury as a result of Defendants’ actions.

                                       PRAYER FOR RELIEF

         93.     WHEREFORE, Plaintiffs demand judgment on all Counts of this Complaint and

  an award of equitable relief and monetary relief against Defendants as follows:

                 a.      Entry of temporary restraining order, as well as preliminary and

  permanent injunctions pursuant to 15 U.S.C. § 1116 and Federal Rule of Civil Procedure 65

  enjoining Defendants, their agents, representatives, servants, employees, and all those acting in

  concert or participation therewith, from manufacturing or causing to be manufactured, importing,

  advertising or promoting, distributing, selling or offering to sell their Counterfeit Goods; from

  infringing, counterfeiting, or diluting Plaintiffs’ Marks; from using Plaintiffs’ Marks, or any

  mark or trade dress similar thereto, in connection with the sale of any unauthorized goods; from

  using any logo, trade name, trademark or trade dress that may be calculated to falsely advertise

  the services or goods of Defendants as being sponsored by, authorized by, endorsed by, or in any

  way associated with Plaintiffs; from falsely representing themselves as being connected with

  Plaintiffs, through sponsorship or association, or engaging in any act that is likely to falsely

  cause members of the trade and/or of the purchasing public to believe any goods or services of



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  Defendants are in any way endorsed by, approved by, and/or associated with Plaintiffs; from

  using any reproduction, counterfeit, infringement, copy, or colorable imitation of Plaintiffs’

  Marks in connection with the publicity, promotion, sale, or advertising of any goods sold by

  Defendants; from affixing, applying, annexing or using in connection with the sale of any goods,

  a false description or representation, including words or other symbols tending to falsely describe

  or represent Defendants’ goods as being those of Plaintiffs, or in any way endorsed by Plaintiffs

  and from offering such goods in commerce; from engaging in search engine optimization

  strategies using colorable imitations of Plaintiffs’ respective name or trademarks; and from

  otherwise unfairly competing with Plaintiffs.

                 b.      Entry of an order requiring Defendants, their agent(s) or assign(s), to

  assign all rights, title, and interest, to the Subject Domain Names to Plaintiffs and, if within five

  (5) days of entry of such order Defendants fail to make such an assignment, the Court order the

  act to be done by another person appointed by the Court at Defendants’ expense, such as the

  Clerk of Court, pursuant to Federal Rule of Civil Procedure 70(a).

                 c.      Entry of an order requiring Defendants, their agent(s) or assign(s), to

  instruct all search engines to permanently delist or deindex the Subject Domain Name(s) and, if

  within five (5) days of entry of such order Defendants fail to make such a written instruction, the

  Court order the act to be done by another person appointed by the Court at Defendants’ expense,

  such as the Clerk of Court, pursuant to Federal Rule of Civil Procedure 70(a).

                 d.      Entry of an order that, upon Plaintiffs’ request, those acting in concert or

  participation with Defendants who have notice of the injunction, as service providers cease

  hosting, facilitating access to, or providing any supporting service to any and all domain names,

  including but not limited to the Subject Domain Names, and websites through which Defendants



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  engage in the promotion, offering for sale and/or sale of goods using counterfeits and/or

  infringements of Plaintiffs’ Marks

                  e.      Entry of an order pursuant to 28 U.S.C §1651(a), The All Writs Act and

  the Court’s inherent authority, that, upon Plaintiffs’ request, the top level domain (TLD) Registry

  for each of the Subject Domain Names or their administrators, including backend registry

  operators or administrators, place the Subject Domain Names on Registry Hold status for the

  remainder of the registration period for any such domain name, thus removing them from the

  TLD zone files which link the Subject Domain Names to the IP addresses where the associated

  websites are hosted.

                  f.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act

  canceling for the life of the current registration or, at Plaintiffs’ election, transferring the Subject

  Domain Names and any other domain names used by Defendants to engage in their

  counterfeiting of Plaintiffs’ Marks at issue to Plaintiffs’ control so they may no longer be used

  for illegal purposes.

                  g.      Entry of an order requiring Defendants to account to and pay Plaintiffs for

  all profits and damages resulting from Defendants’ trademark counterfeiting and infringing

  activities and that the award to Plaintiffs be trebled, as provided for under 15 U.S.C. §1117, or, at

  Plaintiffs’ election with respect to Count I, that Plaintiffs be awarded statutory damages from

  each Defendant in the amount of two million dollars ($2,000,000.00) per each counterfeit

  trademark used and product sold, as provided by 15 U.S.C. §1117(c)(2) of the Lanham Act.

                  h.      Entry of an order requiring Defendants 1-123 to account to and pay

  Plaintiffs for all profits and damages resulting from Defendants 1-123’s cybersquatting activities

  and that the award to Plaintiffs be trebled, as provided for under 15 U.S.C. §1117, or, at



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  Plaintiffs’ election with respect to Count III, that Plaintiffs be awarded statutory damages from

  Defendants 1-123 in the amount of one hundred thousand dollars ($100,000.00) per

  cybersquatted domain name used as provided by 15 U.S.C. §1117(d) of the Lanham Act.

                 i.      Entry of an award pursuant to 15 U.S.C. § 1117 (a) and (b) of Plaintiffs’

  costs and reasonable attorneys’ fees and investigative fees associated with bringing this action.

                 j.      Entry of an award of pre-judgment interest on the judgment amount.

                 k.      Entry of an order for any further relief as the Court may deem just and

  proper.

  DATED: May 30, 2019.                          Respectfully submitted,

                                                STEPHEN M. GAFFIGAN, P.A.

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                              SCHEDULE A
             DEFENDANTS BY NUMBER AND SUBJECT DOMAIN NAME

                  Defendant
                                     Defendant / Domain Name
                   Number
                       1      adidascitycup.com
                       2      abbigliamentoadidas.com
                       3      adidasalesuomi.com
                       4      adidascanadasale.com
                       5      adidascipoolcson.com
                       6      adidascontinental.co.uk
                       7      adidasdrose8.com
                       8      adidasfootwearsaleuk.co.uk
                       9      adidas-france.top
                      10      adidasgalaxy.com
                      11      adidasgazellesuomi.com
                      12      adidasgazelletilbud.com
                      13      adidashamburg.com
                      14      adidashere.com
                      15      adidashungary.com
                      16      adidasiadidasromania.com
                      17      adidasinike2019.com
                      18      adidasireebokpump.com
                      19      adidasireebokromania.com
                      20      adidasirelandsale.com
                      21      adidas-italia.club
                      22      adidasneo.ca
                      23      adidasnetherlands.com
                      24      adidasnikeshoesale.com
                      25      adidas-nmd.com.co
                      25      adidasyeezy-boost.org
                      25      adidasyeezy-shoes.org
                      25      hardenvol2.us
                      25      yeezys-boost.org
                      25      yeezysneakers.com.co
                      26      adidasnmdgreece.net
                      27      adidasnmdr.com
                      28      adidasnuevos.net
                      29      adidasoffwhite.com
                      30      adidasonlinediscountuk.com
                      31      adidasoriginalsgreatsale.co.uk
                      32      adidasoriginalsnz.com
                      33      adidasoriginalsonline.com


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                     34       adidasoriginalsoutletit.com
                     35       adidasoutletch.com
                     36       adidasoutletcheaponsales.com
                     37       adidasoutletnorge.com
                     38       adidasoutletonlineitalia.com
                     39       adidasoutletonlinestoresale.com
                     40       adidasoutletschuhe.com
                     41       adidasoutletschweiz.com
                     42       adidasprophere.com
                     43       adidasromânia.com
                     44       adidasromaniashop.com
                     45       adidasrunning.co.uk
                     46       adidasrunningshoes.co.uk
                     47       adidasrunningshoesoutlet.com
                     48       adidassale.us
                     49       adidas-sale.us
                     50       adidassalesk.com
                     51       adidasschoenen.club
                     52       adidas-schuhe.com
                     53       adidasshoesjapans.com
                     54       adidasshoesonlineau.com
                     55       adidasshoes-outlet.us
                     56       adidasshoesoutletaustralia.com
                     56       yeezy350saleireland.com
                     57       adidasshopindirim.com
                     58       adidassingaporesg.com
                     59       adidas-sko.com
                     60       adidassneakersudsalg.com
                     61       adidassneakersuk.co.uk
                     62       adidassportswear.fr
                     63       adidas-stansmith.com
                     64       adidasstansmithbold.com
                     65       adidasstansmithromania.com
                     66       adidasstoreschweiz.com
                     67       adidassuperstarjapan.com
                     68       adidassuperstarnorge.com
                     69       adidassuperstaroriginals.com
                     70       adidassuperstarsales.co.uk
                     71       adidassuperstartilbud.com
                     72       adidasterrexsolo.com
                     73       adidastobuy.com
                     74       adidas-trainers.com
                     75       adidastubularportugal.com

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                      76      adidasultraboost.ca
                      77      adidasultraboostsuomi.com
                      78      adidasultraboosttilbud.com
                      79      adidasweb.online
                      80      adidasyeezys.uk
                      81      adidasyenisezon.com
                      82      adidaszlavysk.com
                      83      adidaszxfluxdama.com
                      84      billigeadidas.net
                      85      butyadidaspolska.com
                      86      buyadidaseqt.com
                      87      cheapadidasnmdchinastore.com
                      87      shoescheapshop.com
                      88      cheapadidasoriginals.co.uk
                      89      cheapadidassuperstars.com
                      90      cheapadidaswholesale.com
                      91      enucuzreebok.com
                      92      exzapatosadidas.com
                      93      keresadidas.net
                      94      logoadidas.com
                      95      myydaanreebok.com
                      96      newcollectionadidas.com
                      97      newestadidas.com
                      98      nikeadidasnmd.com
                      99      nyeadidassko.com
                     100      papuciadidas.com
                     101      reebokastroride.com
                     102      reebokaztec.com
                     103      reebokcanada.ca
                     104      reebokcipoakciok.com
                     105      reebokcipowebshop.com
                     106      reebokclassicsaustralia.com
                     107      reebokeleganti.com
                     108      reebokexofit.com
                     109      reebokgreecegr.com
                     110      reeboklojasportugal.com
                     111      reebokoutlet.us
                     112      reebokoutletonlinesale.com
                     113      reebokoutletsale.us
                     113      reebokstore.us
                     114      reeboksaleaustralia.com
                     115      reebokstore.online
                     116      reebokwebaruhaz.com

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                     117      reebokzokurunner.com
                     118      salereeboks.com
                     119      sizeadidas.com
                     120      sneakersreeboka.top
                     121      stan-smith-adidas.us
                     122      zapatillas-adidas.com
                     123      zapatossocceradidas.com
                     124      acewritingsolutions.com
                     125      ad2019.top
                     126      adsportuk.com
                     127      adssk.com
                     128      agency-quartznet.com
                     129      airmaxcheapshoes.com
                     130      ajerseys123.top
                     131      alanvodk.com
                     132      arkisaconstrucciones.com
                     133      arthurrivest.com
                     134      arttherapymovie.com
                     135      aspen-treeexperts.com
                     136      basketmontesion.com
                     137      bbcontinue.com
                     137      comfortkick3.com
                     137      comprar-run.com
                     137      enhancekeep.com
                     137      epicreactshoe.com
                     137      fastonlinebay.com
                     137      itemrelease.com
                     137      maximummore.com
                     137      negrases.com
                     137      newbsports.com
                     137      nmdschuhe.com
                     137      pairofsnks.com
                     137      pwsneaker.com
                     137      ruptrunner.com
                     137      shoespriest.com
                     137      shoestrek.com
                     138      beckerrehbein.com
                     139      believeinatl.com
                     140      bellarougebeauty.com
                     141      bestjerseystore.com
                     141      bizwholesalejerseyschinaonline.com
                     141      cheapjerseyx.com
                     141      wholesalestore2019.com

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                     142      bestsportjersey.com
                     143      bizcheapjerseys.com
                     143      postcheapjerseys.com
                     144      bladdertapelawyer.com
                     145      bradbergum.com
                     146      buildingproductjobs.com
                     147      buykyeezy.com
                     148      canamsportlow.com
                     149      cann-fonleno.com
                     150      carrickwatermusic.com
                     151      castlerockvetcenter.com
                     152      cerveceriaelpotro.com
                     153      cheapcustomsoccerjerseys.com
                     154      cheapjerseyschina.org
                     154      cheapnhljerseyscanada.com
                     155      cheapnflshop.co
                     156      cheapyeezyonline.com
                     157      cheapyeezyshoes.co.uk
                     158      chicagoinspanish.com
                     159      cjandnicole.com
                     160      couponingtocruise.com
                     161      cours-francais-paris.com
                     162      cruzcheck.com
                     163      dantiesmith-brown.com
                     164      das-kuhling.com
                     165      davesreupholstery.com
                     166      delegatewittman.com
                     167      devinachocolates.com
                     168      devon-music.com
                     169      docdonnini.com
                     170      ebaysoccer.net
                     171      elbertparksandrec.com
                     172      electricmowerguide.com
                     173      elyafineart.com
                     174      enchantedom.com
                     175      event-nurse.com
                     176      external-shutters.com
                     177      familyaffairdaycare.com
                     178      finnegansforest.com
                     179      folk-it.com
                     180      freshersskiweek.com
                     181      futbol-training.com
                     182      glaserei-pertschy.com

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                     183      goaljerseys.co
                     184      go-factoring.com
                     185      gomartxcardin.com
                     186      heimautoandrecycling.com
                     187      hinduagency.com
                     188      hudsonhomelist.com
                     189      iemilianozapata.com
                     190      injeaniusjackets.com
                     191      jerseywarcheap.com
                     192      jonesboropawnshop.com
                     193      kidzonedirect.com
                     194      koko-imagesafaris.com
                     195      kusadasinovacafe.com
                     196      kyeezy.com
                     197      laboutiquedelabanico.com
                     198      lanasschoolofdance.com
                     199      latestyeezyboost.com
                     200      legiarre.com
                     201      leonardoandsons.com
                     202      listerwatson.com
                     203      lornaleemusic.com
                     204      losangelesbr.com
                     205      ltcomplete.com
                     206      luminary-candles.com
                     207      maimadhara.com
                     208      marinaklemente.com
                     209      masonrywichita.com
                     210      meltemteknesi.com
                     211      mendezcoles.com
                     212      mesutsub.com
                     213      metalicasmetalval.com
                     214      miacare-comfort.com
                     215      millsfamilyatlanta.com
                     216      mjsellsproperty.com
                     217      moranwyoming.com
                     218      mskadaiwala.com
                     219      needvacay.com
                     220      newglassdoors.com
                     221      nhljerseychinas.com
                     221      nhljerseyschina.com
                     222      nicokicks.net
                     223      nightbrushers.com
                     224      nikkiforrrisd.com

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                     225      nitro-highschool.com
                     226      njdiamondexchange.com
                     227      nteciv.com
                     228      ochucheumuodutown.com
                     229      onglement-votre.com
                     230      onyadisticaret.com
                     231      ostlersofworcester.co.uk
                     231      royalmagick.com
                     232      pamfowlergrace.com
                     233      parsaduana.com
                     234      pastryninjaphotography.com
                     235      paullambefitness.com
                     236      pergiwamahayati.com
                     237      photoshoplink.com
                     238      pizzeriaquaefarina.com
                     239      pubshoes.com
                     240      quantico-realestate.com
                     241      rafteroranch.net
                     242      rikkerohr.com
                     243      ruthlinwellness.com
                     244      sallyroseveare.com
                     245      samwhitepages.com
                     246      savvybase1.com
                     247      scarycostumesonline.com
                     248      scavbot.com
                     249      schuylerionapress.com
                     250      seamosrarosjuntos.com
                     251      shopcleats.net
                     252      sneakersboost.com
                     253      soccerkitfr.com
                     254      softwaretutor.co.uk
                     255      soundpointresort.com
                     256      ssr-properties.com
                     257      stevenmcknightguitar.com
                     258      sujikeshi.com
                     259      sumacase.com
                     260      tartofruits.com
                     261      tayfunkara.com
                     262      teakwoodministries.com
                     263      theinsulationsite.com
                     264      tombowkerphotography.com
                     265      toproofingsite.com
                     266      unavenirpourlagrece.com

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                     267      vasilmoskov.com
                     268      vatan-elektronik.com
                     269      visualkeiradio.com
                     270      wholesaleauthenticjerseysforcheap.com
                     271      wilgalvezphotography.com
                     272      yeezy350wholesale.com
                     273      yeezyboost700.us
                     274      yeezybooststock.com
                     275      yeezyboostus.us
                     276      yeezyclay.us
                     277      yeezy-factory.com
                     278      yeezyfactory.store
                     279      yeezygo.store
                     279      yeezysun.club
                     279      yeezysun.store
                     280      yeezyhyperspace.us
                     281      yeezy-official.com
                     282      yeezyop.club
                     283      yeezyshoes.ca
                     284      yeezyshoesus.com
                     285      yeezysitoufficiale.com
                     286      yeezy-supreme.com
                     287      yeezysus.us
                     288      zaneartz.com




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                                 SCHEDULE “B”
                  ADIDAS’S FEDERALLY REGISTERED TRADEMARKS

                     Registration   Registration
      Trademark                                                 Class / Goods
                      Number           Date
                                                 IC25 - sport shoes namely, track and
                                                 field shoes, baseball, boxing, football,
                                                 skating, golf, and soccer shoes;
                                                 sportswear namely, suits, shorts, pants,
       ADIDAS         0,891,222     May 19, 1970
                                                 tights, shirts, gloves, and the like;
                                                 jerseys; socks; sport shoes namely,
                                                 track and field training shoes,
                                                 basketball shoes, and tennis shoes.
                                                 IC 18 - tote bags.
                                                 IC 25 - specific purpose athletic shoes,
                                    November 20,
                      0,973,161                  general purpose sport shoes, sports
                                       1973
                                                 wear-namely, suits, shorts, pants, tights,
                                                 shirts, jerseys, socks, and gloves.
                                                    IC 025 - Sportswear-Namely, Suits,
                                                    Shorts, Pants, Tights, Shirts, Jerseys,
                                     October 16,
                      1,300,627                     Socks, Gloves, Jackets, Coats,
                                        1984
                                                    Swimwear, Sweaters, Caps, Pullovers,
                                                    Warm-Up Suits, Boots, Shoes, Slippers.
                                                 IC 025 - Sportswear-Namely, Suits,
                                                 Shorts, Pants, Tights, Shirts, Jerseys,
                                    December 18, Socks, Gloves, Jackets, Coats,
                      1,310,140
                                       1984      Swimwear, Sweaters, Caps, Pullovers,
                                                 Warm-Up Suits, Rain Suits, Ski Suits,
                                                 Jump Suits, Boots, Shoes, Slippers.
                                                 IC 018 - All purpose sport bags, athletic
                                                 bags, traveling bags, backpacks,
                                                 knapsacks.
                                                 IC 025 - Sports and leisure wear,
                                                 namely, shorts, pants, shirts, T-shirts,
                                                 jerseys, socks, gloves, jackets,
                                                 swimwear, caps and hats, pullovers,
                                    December 12,
                      2,411,802                  sweat-shirts, sweat suits, track suits,
                                       2000
                                                 warm-up suits, boots, sandals, specific
                                                 purpose athletic shoes and general all
                                                 purpose sports shoes.
                                                 IC 028 - Sports balls and playground
                                                 balls; guards for athletic use, namely,
                                                 shin guards, knee guards and leg
                                                 guards.


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                                              IC 009 - Eyeglasses, sunglasses,
                                 November 19,
                     2,651,325                eyeglass cases, frames for prescription
                                    2002
                                              glasses; and electronic calorie counters.
                                               IC 009 - Optical apparatus and
                                               instruments, namely, eyeglasses and
                                               sunglasses.
                                               IC 014 - Horological and chronometric
                                               instruments, namely, watches.
                                               IC 018 - Leather and imitations of
                                               leather, and goods made from these
                                               materials in the nature of bags for
                                               general and sport use, namely,
                                               handbags, tote bags, waist packs,
                                               overnight bags, backpacks, knapsacks
                                               and beach bags; trunks; traveling bags
                                               for general and sport use; leather and
                                               imitations of leather and goods made
                                               from these materials, namely, wallets,
                     3,104,117   June 13, 2006
                                               briefcases.
                                               IC 025 - Sports and leisure wear,
                                               namely suits, shorts, pants, sweatpants,
                                               skirts, skorts, dresses, blouses, shirts, T-
                                               shirts, sleeveless tops, polo shirts, vests,
                                               jerseys, sweaters, sweatshirts,
                                               pullovers, coats, jackets, track suits,
                                               training suits, warm-up suits,
                                               swimwear, underwear, socks, gloves,
                                               scarves, wristbands and belts; headgear,
                                               namely caps, hats, visors, headbands;
                                               athletic footwear and leisure foot wear,
                                               namely boots, sandals, specific purpose
                                               athletic shoes and general purpose
                                               sports shoes.
                                                 IC 009. Mobile phone covers; laptop
                                  January 27,
                     4,679,762                   covers and sleeves; protective covers
                                     2015
                                                 and sleeves for tablet computer.
                                                 IC 009. Mobile phone covers; laptop
                                  January 27,
                     4,679,763                   covers and sleeves; protective covers
                                     2015
                                                 and sleeves for tablet computer.




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                               SCHEDULE “C”
                REEBOK’S FEDERALLY REGISTERED TRADEMARKS

                    Registration    Registration
      Trademark                                                  Class / Goods
                     Number            Date
       REEBOK        1,133,704      April 22, 1980 IC 25. Shoes for use in athletic sports.
                                                     IC 025. Shoes and running suits
                     1,356,835     August 27, 1985
                                                     comprising jackets and pants
                                                   IC 018. All purpose sport bags
                                                   IC 25. Sweatpants, shorts, sweaters,
       REEBOK        1,390,793      April 22, 1986
                                                   polo shirts, hats, visors, headbands,
                                                   sweatbands, t-shirts, sweatshirts.
                                                  IC 018. All purpose sport bags, duffel
                                                  bags.
                                                  IC 025. Footwear and apparel; namely,
                     1,848,848     August 9, 1994 T-shirts, shirts, sweatshirts, sweaters,
                                                  jackets, hats, visors, socks, sweatpants,
                                                  pants, shorts, skirts, unitards, and
                                                  leotards.
                                                    IC 025. Footwear; apparel, namely,
                                                    shirts, tops, jackets, pants, shorts,
                                                    athletic uniforms, socks, tights, gloves
                                                    and, bras; headwear, namely, caps, hats
                                                    and head bands.
                                                    IC 041. Consulting services in the
                                                    fields of fitness and exercise; physical
                                                    fitness and exercise training services;
                                                    providing physical fitness and exercise
                                                    instruction; entertainment in the nature
                                                    of competitions in the field of
                     4,092,269     January 24, 2012 weightlifting, cross-training, and
                                                    overall physical fitness; organizing
                                                    physical fitness competitions;
                                                    providing motivational speakers and
                                                    personal appearances by athletes and
                                                    physical fitness experts; health and
                                                    fitness club services, namely,
                                                    providing instruction, facilities, and
                                                    equipment in the field of physical
                                                    exercise; organizing and conducting
                                                    classes, seminars, and workshops in
                                                    the field of fitness



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